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                  DISTRICT COURT OF THE VIRGIN ISLANDS

                              DIVISION OF ST. CROIX
                                          5
UNITED STATES OF AMERICA and              5
PEOPLE OF THE VIRGIN ISLANDS,             5
                                          5
                        Plaintiffs,       5           2008-CR-0020-01
      v.                                  5
                                          5
AMON THOMAS,                              5
                                          5
                        Defendant.        5
__________________________________________5



TO:   Alphonso G. Andrews, Jr., Esq., AUSA
      Jeffrey B.C. Moorhead, Esq.



       ORDER REGARDING DEFENDANT AMON THOMAS’ MOTION TO
                      RELINQUISH COUNSEL

      THIS MATTER came before the Court upon Defendant Amon Thomas’ Motion to

Relinquish Counsel (Docket No. 159). A hearing was held August 4, 2009. Alphonso G.

Andrews, Jr., Esq., AUSA. Jeffrey B.C. Moorhead, Esq., appeared on behalf of Defendant

Amon Thomas. Michael A. Joseph, Esq., appeared on behalf of Defendant Nathaniel

Thomas. Defendants Amon Thomas, Nathaniel Thomas, and Okimo Milligan also were

present.

      Being advised in the premises and upon due consideration thereof, the Court finds

that, in the event the Court would grant the said motion, trial would be delayed for an
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additional four (4) to six (6) months. The Court believes such a delay is not in the interests

of all the Defendants as they remain in pre-trial detention. Attorney Moorhead has

indicated that he is prepared for trial. Moreover, trial has been scheduled to go forward

previously, most recently July 20, 2009, and no issues were brought to the Court’s attention

prior to that date.

       Accordingly, it is hereby ORDERED that Defendant Amon Thomas’ Motion to

Relinquish Counsel (Docket No. 159) is DENIED.

                                                    ENTER:



Dated: August 4, 2009                               /s/ George W. Cannon, Jr.
                                                    GEORGE W. CANNON, JR.
                                                    U.S. MAGISTRATE JUDGE
